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 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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13    ASSOCIATION OF AMERICAN                         2:16-cv-02441 MCE-EFB
      PHYSICIANS & SURGEONS, INC., and
14    EILEEN NATUZZI, M.D.,                           MEMORANDUM OF POINTS AND
                                                      AUTHORITIES IN SUPPORT OF
15                                        Plaintiffs, MOTION TO DISMISS

16                  v.                                Date:       September 6, 2018
                                                      Time:       2:00 p.m.
17                                                    Courtroom: 7
      SHELLEY ROUILLARD, in her official              Judge:       Hon. Morrison C. England, Jr.
18    capacity as the Director of the California      Trial Date: None Set
      Department of Managed Health Care,
19                                                    Action Filed: October 13, 2016
                                         Defendant.
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 1                                             INTRODUCTION
 2          The purpose of Assembly Bill 72 (“AB 72” or the “Act”) is to protect patients who have

 3    health coverage from “surprise medical bills.” These are bills received by patients for treatment

 4    that is rendered by an out-of-network health professional and accompanies or results from

 5    treatment at an in-network health facility. Importantly, the Act also ensures that out-of-network

 6    health care providers are reasonably reimbursed for their services by either an agreed upon rate or

 7    a default payment rate based, in part, on geographical region. But a provider has a remedy if an

 8    agreement for reimbursement cannot be reached with a health service care plan, and the provider

 9    is dissatisfied with the default rate: the Act creates an independent dispute resolution process that

10    gives out-of-network providers the option to resolve their disputes with health care service plans

11    short of formal litigation. If the provider is dissatisfied with the result obtained through the

12    independent dispute resolution process, the provider may seek redress in court. These features of

13    the Act serve the goals of keeping California’s health care costs under control, and providing

14    certainty for providers and health care service plans regarding fair rates of compensation for

15    health care services. 1

16          Plaintiffs, however, assert that the Act is unconstitutional, and seek declaratory and

17    injunctive relief prohibiting the implementation of the Act on three different grounds. First,

18    Plaintiffs allege that the Act’s independent dispute resolution process is cost-prohibitive for

19    providers in terms of time and fees, in violation of the Due Process Clause of the U.S.

20    Constitution. Second, Plaintiffs allege that the Act violates the Takings Clause of the U.S.

21    Constitution by causing a sharp, unreasonable decline of 25% in payments to out-of-network

22    physicians for services rendered. 2 Finally, Plaintiffs allege that AB 72 prohibits out-of-network

23    providers from collecting for their services rendered to Medicare beneficiaries, in violation of the

24    Supremacy Clause of the U.S. Constitution. Plaintiffs’ claims fail for the following reasons.

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              1
                Other states, including Florida, New York, and Colorado, have enacted similar
26    legislation to protect consumers from surprise medical billing. (Merlow M. Dunham, Avoiding
      Sticker Shock: Legislative Approaches to Protect Consumers from Surprise Medical Bills, 11 St.
27    Louis U.J. Health L. & Pol’y 179, 200 (2017).)
              2
                The amended complaint does not contain allegations explaining exactly how the Act
28    caused AAPS’ members’ and Dr. Natuzzi’s reimbursements to decline by 25%.
                                                      1
                                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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 1          First, as to Plaintiff Association of American Physicians & Surgeons, Inc. (“AAPS”), the
 2    amended complaint fails to sufficiently allege standing to bring this action on behalf of AAPS’
 3    members. AAPS generally claims that as a physician-based organization it automatically has
 4    standing to represent its members who are out-of-network providers who are subject to the Act’s
 5    reimbursement and dispute resolution provisions. However, any harm to a physician-member is
 6    based on what may happen in the future if at some point in time an out-of-network physician is
 7    ultimately denied reasonable reimbursement after completion of the Act’s reimbursement process.
 8    Since none of AAPS’ members have met these conditions precedent to any actual injury, AAPS
 9    has failed to allege it has standing to pursue these claims on behalf of its members.
10          Second, as to Plaintiff Eileen Natuzzi, M.D. (“Dr. Natuzzi”), she similarly lacks standing to
11    bring her claims. For Dr. Natuzzi to suffer harm, and thus, have standing to bring her claims, the
12    following must first bear out: (1) she must be unable to reach an agreement for reasonable
13    compensation with a health care service plan; (2) an unreasonable default rate for her
14    reimbursement must be set; and (3) she must unsuccessfully appeal the default rate pursuant to
15    the Act’s independent dispute resolution process. The amended complaint lacks any allegations
16    concerning these conditions precedent to actual injury.
17          Third, Plaintiffs’ claim that the Act’s process for challenging underpayment violates the
18    Due Process Clause must be rejected, since the process is not unduly costly or lengthy, and the
19    process is fair. Moreover, because the Act authorizes Plaintiffs to file a lawsuit in state court if
20    they are unsatisfied with the administrative remedies under the Act, due process is satisfied.
21          Fourth, as for Plaintiffs’ claim that the Act violates the Takings Clause of the U.S.
22    Constitution by causing a decline of 25% in payments to out-of-network physicians for services
23    rendered, the claim fails. This is because Plaintiffs do not have a constitutionally protected right
24    to a particular reimbursement rate. The only protected right that these Plaintiffs might possess is
25    a right to bring a cause of action for the reasonable value of their rendered services (e.g., a
26    quantum meruit claim). But since the Act does not deprive Plaintiffs of this right, and since
27    Plaintiffs have not utilized the dispute resolution remedies that the Act provides, Plaintiffs cannot

28    allege a cause of action for a taking.
                                                        2
                                               MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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 1          Finally, Plaintiffs’ Supremacy Clause cause of action, based on the allegation that the Act
 2    prohibits out-of-network providers from collecting for services they rendered to Medicare
 3    beneficiaries, must fail because the Act is not applied to Medicare plans. Moreover, the
 4    Supremacy Clause does not provide Plaintiffs with a private right of action.
 5          For the above reasons, Defendant’s motion to dismiss should be granted, without leave to
 6    amend.
 7                           SUMMARY OF THE AMENDED COMPLAINT
 8          Plaintiff AAPS is a physician-organization, and its members include both in-network and
 9    out-of-network providers in California. (Am. Comp. ¶ 7.) Many of its members “have opted-out
10    of or are disenrolled from Medicare.” (Id.)
11          Plaintiff Dr. Natuzzi is a surgeon who lives and practices in California. (Id. at ¶ 8.) The
12    complaint alleges that Dr. Natuzzi is an out-of-network provider (id. at ¶ 20), but it does not
13    allege that Dr. Natuzzi has opted-out of Medicare.
14          Defendant is Shelley Rouillard, in her official capacity as the Director of the California
15    Department of Managed Health Care (DMHC). (Id. at ¶ 9.) DMHC is the agency responsible for
16    the execution of the laws of this state relating to health care service plans under the Knox-Keene
17    Health Care Service Plan Act of 1975. (Cal. Health & Safety Code, §§ 1340, 1341.)
18          Plaintiffs generally claim that the Act is unconstitutional in that its out-of-network members
19    and Dr. Natuzzi are denied adequate reimbursement for their services under the Act. (Am.
20    Comp., ¶¶ 2-5.) Plaintiffs seek declaratory and injunctive relief under 42 U.S.C. section 1983 for
21    violations of the Due Process, Takings, and Supremacy Clauses of the U.S. Constitution. (Id. at
22    ¶¶ 25-26, 33-34, 44-45.)
23          The cause of action for violation of due process alleges that the Act sets forth a process that
24    out-of-network providers must follow to challenge reimbursement rates that is too expensive and
25    time-consuming. (Id. at ¶ 23.) The cause of action for an unconstitutional taking alleges that,
26    since the Act was implemented, out-of-network providers have seen a decrease of roughly 25% in
27    their reimbursements from health plans. (Id. at ¶ 29.) The cause of action for violation of the

28    Supremacy Clause alleges that the Act is preempted by federal law. Specifically, the complaint
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 1    alleges that Section 4507 of the Balanced Budget Act of 1997 (42 U.S.C. § 1395a), authorizes
 2    “Opted-Out” physicians to enter into private contracts with patients who are Medicare
 3    beneficiaries to obtain agreed-upon fees for services rendered, but the Act prohibits opted-out
 4    physicians from collecting anything for their services rendered to Medicare beneficiaries, other
 5    than perhaps a small co-pay. (Am. Comp., ¶¶ 37-39.)
 6                     SUMMARY OF THE RELEVANT PROVISIONS OF AB 72 3
 7    I.    PATIENT PROTECTIONS
 8          AB 72 requires that contracts for health care service plans contain a provision prohibiting
 9    surprise balance billing. Surprise balance billing occurs when an out-of-network provider bills a
10    consumer for amounts that exceeds the consumer’s applicable cost-sharing for services performed
11    at an in-network facility, or resulting from treatment at an in-network facility. Balance billing
12    was already prohibited in California in the context of emergency services and care before AB 72
13    became effective. (Prospect Medical Group, Inc. v. Northridge Emergency Medical Group, 45
14    Cal.4th 497, 502 (2009).) Under the Act, enrollees are responsible only for costs equal to what
15    they would have paid if they had received the services from an in-network provider. (Cal. Health
16    & Safety Code, § 1371.9(a)(1).) 4 This is referred to as the “in-network cost-sharing amount.”
17    (Id.) Out-of-network providers are prohibited from billing or collecting any amount from the
18    enrollee for their applicable services except for the in-network cost-sharing amount. (§
19    1371.9(a)(3).)
20          However, the above billing limitation does not apply if the enrollee has a health care service

21    plan that pays for out-of-network services. (§ 1371.9(c).) Then, AB 72 permits an out-of-

22    network provider to bill or collect from the enrollee the out-of-network cost sharing, but only

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             3
                AB 72 is divided into two parts. The first part addresses health care service plans that
25    are regulated by DMHC under the Health and Safety Code, the subject of this litigation, and the
      second part addresses insurance policies that are regulated by the Insurance Commissioner, which
26    are not challenged in this litigation. Accordingly, this motion only addresses health care service
      plans regulated by DMHC and not the nearly identical provisions related to insurance policies,
27    insureds or insurers.
              4
                All further statutory references will be to the California Health and Safety Code unless
28    otherwise noted.
                                                          4
                                             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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 1    when the enrollee consents in writing to the services and only when certain requirements are met
 2    (e.g., time and form of notice). (§ 1371.9(c)(1)-(6).)
 3          The Act does not extend balance billing or surprise billing protections to all services
 4    provided by out-of-network providers. For example, the prohibition on balance billing does not
 5    require a health care service plan to cover services that are not required by the plan or by law. (§
 6    1371.9(g).) And the provisions do not apply to Medi-Cal managed health care service plans,
 7    Medicare plans, self-insured plans, certain contracts with the State Department of Health Care
 8    Services for public social services, or to emergency services and care. (§ 1371.9(j)(k); see also
 9    Exhibit 1, DMHC Guidance re: Surprise Medical Bills, Frequently Asked Questions, June 2017,
10    p. 2, attached to Request for Judicial Notice.)
11          To ensure that patient services are not compromised, the Act requires health plans to meet
12    existing network adequacy requirements, including but not limited to, inpatient hospital and
13    specialist physician services. (§ 1371.31(a)(5).)
14    II.   REQUIRED PROVIDER REIMBURSEMENT
15          The Act guarantees that out-of-network providers will be reasonably reimbursed for
16    services subject to AB 72 in either one of two ways. First, the health care service plan and the
17    out-of-network provider can agree on a reimbursement rate. (§ 1371.31(a)(1).) Second, if an
18    agreement is not reached, AB 72 requires plans to reimburse out-of-network providers at either
19    the greater of the average contracted rate or 125 percent of the amount Medicare reimburses on a
20    fee-for-service basis for the same or similar services in the general geographic region in which the
21    services are provided. 5 (Id.) AB 72 defines “average contracted rate” as the average of the
22    contracted commercial rates paid by the health plan for the same or similar services in the
23    geographic region. (Id.)
24          To provide a fair and reasonable reimbursement rate to out-of-network providers, AB 72
25    requires each health plan, and its delegated entities, to provide to DMHC all of the following
26    information for the 2015 calendar year: (1) data listing average contracted rate for services most
27           5
               As explained above, these reimbursement provisions do not apply to Medi-Cal,
      Medicare, or to emergency services and care. California Health and Safety Code § 1371.31(e)(f);
28    Exh. 1, p. 2.)
                                                    5
                                             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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 1    frequently provided in or resulting from services provided in contracted facilities by out-of-
 2    network providers in each geographic region in which the services are rendered; (2) its
 3    methodology for determining these average rates, including the highest and lowest contracted
 4    rates; and (3) its policies and procedures used to determine the average contracted rates.
 5    (§ 1371.31(a)(2)(A)(i), (ii), (iii).) After 2017, when the Act became effective, and until the
 6    DMHC promulgates regulations that specify the standard health plans must use to determine their
 7    average contracted rates, the health plan, and its delegated entities, must then adjust the rate
 8    initially submitted by the Consumer Price Index for Medical Care Services. 6
 9    (§ 1371.31(a)(2)(B).)
10    III. PROMPT RESOLUTION OF DISPUTED CLAIMS
11          A.    Health Plan’s Internal Dispute Resolution Process
12          AB 72 directed DMHC to establish an independent dispute resolution process (IDRP) for
13    the purpose of processing and resolving a claim dispute between a health care service plan and
14    out-of-network provider for covered services. (§ 1371.30(a)(1), (b)(1).) However, before
15    initiating IDRP, the out-of-network provider must have participated in the health plan’s internal
16    process for submitting and reviewing claims. (§ 1371.30(a)(2).) The plan has 45 business days to
17    complete its claim review process. (Cal. Code Regs. tit. 28, § 1300.71.38(f).) If, after completing
18    the health plan’s internal claim process, the provider still disagrees with the amount of
19    reimbursement, it can appeal the decision to IDRP. While AB 72 contemplates that the provider
20    completes the health plan’s internal process before initiating IDRP, the provider may initiate
21    IDRP if at least 45 business days have passed since the date the claim was submitted to the health
22    plan, even if a decision has not been made. (Exhibit 2, AB 72 Uniform Written Procedures and
23    Guidelines, p. 2; see also § 1371.30(j) [DMHC authorized to “implement, interpret, or make
24    specific” the Act’s provisions by means of all-plan letters or similar instructions].)
25    ///
26           6
               By January 1, 2019, DMHC must specify a methodology that the health plans must use
      to determine the average contracted rates for services most frequently subject to section 1371.9.
27    (§ 1371.31(a)(3)(A).) The methodology must take into account, at a minimum, information from
      the independent dispute resolution process, the individual health provider’s specialty and the
28    geographic region in which the services are rendered. (Id.)
                                                       6
                                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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 1          B.       The IDRP Process
 2          If either party appeals a claim to IDRP, the other party must participate in the appeal

 3    process. (§ 1371.30(a)(3).) The application for IDRP should include a narrative summary

 4    justification that addresses all information relevant to the initiating party’s claimed

 5    reimbursement amount for the claim(s) at issue, 7 including, but not limited to, the following

 6    factors:

 7          i.     the provider’s training, qualifications, and length of time in practice;

 8          ii. the nature of the services provided;

 9          iii. the fees usually charged by the provider;

10          iv. prevailing provider rates charged in the general geographic area in which the services

11    were rendered;

12          v. other aspects of the economics of the medical provider’s practice that are relevant; and,

13          vi. any unusual circumstances in the case. 8

14    (See 28 California Code of Regulations. § 1300.71(a)(3)(B)(i)-(vi).)

15          After receiving the application for IDRP, DMHC will transmit an initial Request for

16    Opposing Party Response, which seeks information to determine if the dispute is within DMHC’s

17    jurisdiction. (Exh. 2, p. 5.) The opposing party’s response must be submitted to DMHC within

18    five business days. (Id., p. 11.) If there is jurisdiction, DMHC transmits a second Request for

19    Opposing Party Response electronically, through the IDRP portal, which provides the opposing

20    party with an opportunity to fully respond in writing to the initiating party’s application. (Id., p.

21    11.) This second opposing party response must be submitted online, through the IDRP portal,

22    within 20 business days. (Id., p. 11.) After receiving all the documents and payment, the

23    independent review organization renders its decision electronically through the IDRP portal

24    within 30 days. (Id., p. 10.) Once an IDRP decision is approved, the DMHC will electronically

25    send the IDRP decision to both parties through the IDRP portal. (Id., p. 11.)

26               7
                   As explained further below, multiple claims can be “bundled” into one IDRP.
                 8
                 These factors previously guided a plan’s reimbursement of an out-of-network provider
27    before AB 72 became effective. A plan was considered to have complied with the Knox-Keene
      Act if it reimbursed a provider based on these factors. The only new element created under AB
28    72 was to prohibit providers from surprise balance billing consumers.
                                                        7
                                                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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 1          The decision obtained through IDRP, is binding on both parties and must be implemented
 2    by the plan. (Id.; § 1371.30(d).) But “[i]f dissatisfied, either party may pursue any right, remedy,
 3    or penalty established under any other applicable law.” (Id.; Ex. 2, p. 7.)
 4          C.    IDRP Fees
 5          IDRP fees are split equally between the parties. (§ 1371.30(b)(2); Ex. 2, p. 9.) For
 6    purposes of economy and efficiency, AB 72 permits the party initiating IDRP to “bundle” claims
 7    submitted to the same plan for the same or similar services by the same out-of-network provider.
 8    (Cal. Health & Safety Code § 1371.30(b)(3).) All of the claims to be bundled must have accrued
 9    within 365-days of each other. (Exh. 2, p. 8.) A list of current IDRP fees is as follows:
10          Standard rate (no dispute over correct coding of claims) 9
11          $315 per review of a claim
12          $315 per review of a bundle of 2-10 substantially similar claims
13          $340 per review of a bundle of 11-25 substantially similar claims
14          $395 per review of a bundle of 26-50 substantially similar claims
15          Standard rate including coding review
16          $330 per review of a claim
17          $330 per review of a bundle of 2-10 substantially similar claims
18          $355 per review of a bundle of 11-25 substantially similar claims
19          $415 per review of a bundle of 26-50 substantially similar claims
20    Again, these fees are split equally between the parties. (§1371.30(b)(2).)

21                                       STANDARD OF REVIEW
22    I.    STANDARDS FOR A MOTION TO DISMISS
23          For purposes of a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), all
24    well-pleaded facts in the complaint are accepted as true and construed in the light most favorable
25
             9
                After a medical provider examines or treats a patient, the insurance company needs to
26    understand the services that were performed in order to process the bill. Medical coders read a
      patient’s medical chart and analyze it, determining the patient’s diagnoses and any procedures
27    performed. They then categorize those diagnoses and procedures according to a national
      classification system, assigning a specific numeric or alphanumeric code to each diagnosis or
28    procedure. The codes are used in the billing process.
                                                       8
                                             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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 1    to the nonmoving party. (Intri-Plex Techs., Inc. v. Crest Grp., Inc., 499 F.3d 1048, 1052 (9th Cir.
 2    2007).) Generally, a court may not consider material beyond the complaint in ruling on a Federal
 3    Rule of Civil Procedure 12(b)(6) motion. (Lee v. City of Los Angeles, 250 F.3d 668, 688 (9th Cir.
 4    2001). However, “[a] court may take judicial notice of ‘matters of public record’ without
 5    converting a motion to dismiss into a motion for summary judgment,” as long as the facts noticed
 6    are not “subject to reasonable dispute.” (Lee, 250 F.3d at 689; see also United States v. Ritchie,
 7    342 F.3d 903, 908–09 (9th Cir. 2003).)
 8          A plaintiff’s obligation to adequately allege the grounds for his or her entitlement to relief
 9    “requires more than labels and conclusions, and a formulaic recitation of the elements of a cause
10    of action will not do.” (Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, (2007) [citations
11    omitted].) A court is not required to accept as true a “legal conclusion couched as a factual
12    allegation.” (Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) [quoting Twombly, 550 U.S. at 555].)
13    “Factual allegations must be enough to raise a right to relief above the speculative level.”
14    (Twombly, 550 U.S. at 555.) A pleading must contain “enough facts to state a claim to relief that
15    is plausible on its face.” (Id. at 570.) If the “plaintiffs . . . have not nudged their claims across the
16    line from conceivable to plausible, their complaint must be dismissed.” (Id.)
17    II.   STANDARDS FOR A FACIAL CHALLENGE
18          A.    The Instant Action is a Facial Challenge to the Act
19          It is important at the outset to define whether Plaintiffs’ constitutional claims are “as-
20    applied” or facial challenges to the Act. To make this determination, courts use a “remedy-
21    centered” approach. (John Doe No. 1 v. Reed, 561 U.S. 186, 194 (2010).) Specifically, if a
22    statute’s challenger seeks to void the statute in its entirety against circumstances beyond the
23    challenger’s individual case – rather than simply as the statute is applied to their circumstances –
24    the attack on the statute would be defined as “facial.” (Id.)
25          In the instant case, Plaintiffs’ claims and the relief they seek – declaratory and injunctive
26    relief that “the AB 72 is unconstitutional under the Due Process, Takings, and/or Supremacy
27

28
                                                         9
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 1    Clauses of the U.S. Constitution” – reach beyond the particular circumstances of these plaintiffs,
 2    and thus it is properly characterized as a facial challenge 10.
 3          B.     Facial Challenges Are Disfavored
 4          In this case, the standard for bringing a facial challenge to a statute is critical. The Supreme
 5    Court has explained that a plaintiff can only succeed in a facial challenge by “establish[ing] that
 6    no set of circumstances exists under which the Act would be valid,” i.e., that the law is
 7    unconstitutional in all of its applications. (United States v. Salerno, 481 U.S. 739, 745 (1987).)
 8    A facial challenge must fail where the statute has a “plainly legitimate sweep.” (Washington v.
 9    Glucksberg, 521 U.S. 702, 739-740, and n. 7 (1997).) In determining whether a law is facially
10    invalid, courts must be careful not to go beyond the statute’s facial requirements and speculate
11    about “hypothetical” or “imaginary” cases. See United States v. Raines, 362 U.S. 17, 22 (1960)
12    [“The delicate power of pronouncing an Act of Congress unconstitutional is not to be exercised
13    with reference to hypothetical cases thus imagined”].) Exercising judicial restraint in a facial
14    challenge “frees the Court not only from unnecessary pronouncement on constitutional issues, but
15    also from premature interpretations of statutes in areas where their constitutional application
16    might be cloudy.” (Id.)
17            Facial challenges are disfavored for several reasons. Claims of facial invalidity
18            often rest on speculation. As a consequence, they raise the risk of premature
              interpretation of statutes on the basis of factually barebones records. Facial
19            challenges also run contrary to the fundamental principle of judicial restraint that
              courts should neither anticipate a question of constitutional law in advance of the
20            necessity of deciding it nor formulate a rule of constitutional law broader than is
              required by the precise facts to which it is to be applied. Finally, facial challenges
21            threaten to short circuit the democratic process by preventing laws embodying the
22            will of the people from being implemented in a manner consistent with the

23            10
                 With respect to their Due Process claim, Plaintiffs allege that they “seek a declaratory
      judgment that AB 72, as applied, constitutes a violation of the Due Process Clause . . . .” (Am.
24    Comp. ¶ 25 [emphasis added].) However, in determining whether a claim presents a facial or
      “as-applied” challenge, “the label is not what matters.” (Feldman v. Arizona Sec’y of State’s
25    Office, 843 F.3d 366, 385 (9th Cir. 2016) [citations omitted].) Because Plaintiffs’ claim and the
      relief that would follow – an injunction barring California from implementing and enforcing AB
26    72 – “reach beyond the particular circumstances of these plaintiffs,” it is properly characterized as
      a facial challenge. (Id.)
27

28
                                                        10
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 1            Constitution. We must keep in mind that a ruling of unconstitutionality frustrates
              the intent of the elected representatives of the people.
 2
      (Washington State Grange v. Washington State Republican Party, 552 U.S. 442, 449-451 (2008)
 3
      [citations omitted].)
 4
                                                 ARGUMENT
 5
      I.    PLAINTIFFS DO NOT HAVE STANDING TO BRING THIS ACTION
 6
            A.     AAPS Lacks Associational Standing Because any Harm to its Members is
 7                 Speculative
 8          Plaintiff AAPS purports to allege associational standing on behalf of its members, including
 9    California ophthalmologist Michael Couris, M.D., who claim to “suffer ongoing financial harm
10    due to the denial of their rights under the Due Process, Takings, and Supremacy Clauses from the
11    implementation of AB 72.” (Am. Comp. ¶ 14.) But Plaintiff AAPS has failed to allege
12    associational standing on behalf of its members because its allegations of potential harm are
13    speculative and, regardless, there is no obstacle to AAPS’ members suing on their own behalf if a
14    billing issue arises.
15          “[T]o satisfy Article III’s standing requirements, a plaintiff must show (1) it has suffered an
16    ‘injury in fact’ that is (a) concrete and particularized and (b) actual or imminent, not conjectural
17    or hypothetical; (2) the injury is fairly traceable to the challenged action of the defendant; and (3)
18    it is likely, as opposed to merely speculative, that the injury will be redressed by a favorable
19    decision.” (Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 180-81
20    (2000).) “An association has standing to bring suit on behalf of its members when its members
21    would otherwise have standing to sue in their own right, the interests at stake are germane to the
22    organization’s purpose, and neither the claim asserted nor the relief requested requires the
23    participation of individual members in the lawsuit.” (Id.)
24          It is well-settled that a person claiming injury against the State, based on a violation of
25    property rights protected by the Constitution, has not suffered a violation unless and until the
26    person has unsuccessfully attempted to obtain just compensation through the procedures provided
27    by the State for obtaining such compensation. (Williamson Cty. Reg’l Planning Comm’n v.
28
                                                        11
                                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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 1    Hamilton Bank of Johnson City, 473 U.S. 172, 195 (1985).) The State’s action is not “complete”
 2    in the sense of causing a constitutional injury “unless or until the State fails to provide an
 3    adequate post deprivation remedy for the property loss.” (Id.; Hudson v. Palmer, 468 U.S. 517,
 4    532, n. 12 (1984).) Because the Constitution is satisfied by a reasonable and adequate provision
 5    for obtaining compensation after the alleged deprivation, a State’s action is not “complete” until
 6    the State fails to provide adequate compensation for the deprivation. (Williamson County, 473
 7    U.S. at 194–195.)
 8          In this case, although AAPS alleges that its out-of-network membership has suffered harm
 9    in the form of a 25% decrease in payments for services rendered, AAPS is unable to adequately
10    allege that this purported harm is a result of the Act. For AAPS’ members to allege that they
11    suffered harm as a result of the Act, the following must first bear out: (1) the inability of its
12    members who provide services covered under the Act to reach agreements for reasonable
13    compensation with health care service plans with which they do not contract; (2) the setting of
14    unreasonable rates of reimbursement under the Act; (3) unsuccessful appeals pursuant to the
15    Act’s IDRP; and, (4) the inability to seek reasonable rates of reimbursement in state court. Given
16    those conditions precedent to any actual injury, AAPS has failed to allege it has standing to
17    pursue these claims on behalf of its members. (See Coons v. Lew, 762 F.3d 891, 897-898 (9th
18    Cir. 2014). While AAPS makes the broad, conclusory allegation that the implementation of the
19    Act caused a sharp, unreasonable decline of 25% in payments to out-of-network physicians for
20    services rendered (Am. Comp. ¶ 3), conspicuously missing from the amended complaint are
21    allegations that its members who are out-of-network providers will not be reasonably reimbursed
22    for their services, either through the Act’s default rate or, if the default rate is challenged, through
23    IDRP. Indeed, there are no allegations that any of AAPS’ members have availed themselves of
24    the reimbursement remedies provided by the Act.
25          Additionally, AAPS alleges that its members suffer ongoing financial harm due to the
26    implementation of the Act, “which prohibits Opted-Out Physicians from receiving private
27    payments from Medicare-enrolled patients . . . .” (Am. Comp. ¶ 13.) But there are no allegations

28    that any of its members have actually been precluded from receiving private payments from
                                                     12
                                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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 1    Medicare-enrolled patients, nor could there be, because the Act does not apply to Medicare plans.
 2    (Exh. 1, p. 2.) Moreover, there are no allegations that DMHC intends to apply the Act in such a
 3    way as to preclude providers from receiving private payments from Medicare-enrolled patients.
 4    In fact, the opposite is true – DMHC has issued written guidance to the public explaining that the
 5    Act does not apply to Medicare plans. (Exh. 1, p. 2.)
 6          “[H]ypothetical, speculative or other ‘possible future’ injuries do not count in the standings
 7    calculus.” (Schmier v. U.S. Court of Appeals for Ninth Circuit, 279 F.3d 817, 821 (9th Cir.
 8    2002).) Because any harm to AAPS’ physician-members is based on what may happen in the
 9    future if at some point in time an out-of-network physician is ultimately denied reasonable
10    reimbursement under the Act, AAPS lacks standing. 11
11          B.    Dr. Natuzzi Lacks Standing Because She Has Not Been Precluded from
                  Receiving Private Payments from Medicare-Enrolled Patients, and Has
12                Not Availed Herself of the Act’s Remedies for Reimbursement
13          The amended complaint alleges that “Plaintiff Dr. Natuzzi has standing based on losses she
14    has already suffered due to the implementation of AB 72, in the form of a loss of 25% of her
15    revenue in 2018 due to reduced reimbursements by health plans.” (Am. Comp. ¶ 14.) Also, the
16    amended complaint contains the allegation that, “[w]hile AB 72 purportedly exempts medical
17    services rendered on an emergency basis, Defendant’s implementation of AB 72 has caused plans
18    to decrease payments by an unreasonable 25% to out-of-network physicians, including Plaintiff
19    Dr. Natuzzi, on all services including those provided on an urgent or emergency basis. (Am.
20    Comp. ¶ 20.) But Dr. Natuzzi’s claim of standing fails for the same reasons that AAPS’ does –

21    her claims are fatally speculative.

22          Dr. Natuzzi fails to adequately allege a nexus between the implementation of the Act and

23    her purported loss of revenue. First, Dr. Natuzzi fails to allege that she has availed herself of a

24    health plan’s internal claim process or has participated in IDRP. Because it is entirely possible

25    that if she had participated in either of these remedies under the Act she may not have suffered

26    any purported loss of revenue, Dr. Natuzzi has not adequately alleged standing. (See Coons, 762

27           11
                 Additionally, as mentioned above, AAPS has alleged no facts showing why any real or
      even perceived obstacle prevents its members from suing on their own behalf should a billing
28    issue arise in the future.
                                                     13
                                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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 1    F.3d at 897-898.)
 2          Second, Dr. Natuzzi fails to allege that she has actually been precluded from receiving
 3    private payments from Medicare-enrolled patients, or that she has a reasonable concern that the
 4    Act will be applied in such a way as to preclude her from doing so. She cannot do so, since the
 5    Act is not applied to services provided to Medicare beneficiaries (Exhibit 1, p. 2).
 6          Finally, Dr. Natuzzi is unable to allege facts that would establish that the Act is the cause of
 7    her claimed 25% decrease in reimbursement for emergency services, because the Act does not
 8    apply to emergency services and care. (§ 1371.9(j)(k); see also Exhibit 1, p. 2.)
 9          Because Dr. Natuzzi has not availed herself of the Act’s reimbursement remedies; because
10    she has not been precluded from receiving private payments from Medicare-enrolled patients; and
11    because any decrease in her reimbursements for emergency services were not caused by the Act,
12    Dr. Natuzzi lacks standing.
13    II.   EVEN IF PLAINTIFFS HAD STANDING, THEY CANNOT ALLEGE A VIOLATION OF
            THEIR CONSTITUTIONAL RIGHTS
14
            A.    The Act Does Not Violate the Due Process Clause of the U.S. Constitution
15
            Plaintiffs’ claim that the Act’s process for challenging underpayment violates the Due
16
      Process Clause must be rejected, since the process is not unduly costly or lengthy, and the process
17
      is fair. Moreover, because the Act authorizes Plaintiffs to file a lawsuit in state court if they are
18
      dissatisfied with the administrative remedies under the Act, due process is satisfied.
19
            The state and federal constitutions prohibit the government from depriving a person of
20
      property without due process of law. (U.S. Const. 14th Amend., § 1.) Due process can involve
21
      both procedural and substantive due process, but it appears that only procedural due process is
22
      raised as an issue in this case. As relevant here, Plaintiffs allege that “[t]he mandatory AB 72
23
      IDRP, and pre-IDRP, procedures for physicians who are underpaid by health plans violate the
24
      Due Process Clause by creating a cost-prohibitive impediment to challenging underpayments.”
25
      (Am. Comp. ¶ 23.) But, regardless of how the issues are framed in the complaint, at bottom, the
26
      Act’s procedures for challenging underpayments are not unconstitutional. Moreover, these
27

28
                                                        14
                                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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 1    procedures are not ultimately binding on providers because they can always seek judicial review
 2    of a specific reimbursement claim. (§ 1371.30(d).)
 3                1. Plaintiffs Have No Constitutionally Protected Interest in a Particular
 4                   Reimbursement Rate or Future Reimbursements
            The Due Process Clause protects recognized property interests; absent a property interest, a
 5
      claim is not cognizable. (Peterson v. United States Dept. of Interior, 899 F.2d 799, 807 (9th Cir.
 6
      1990).) Property interests protected by the constitution are “interests that a person has already
 7
      acquired in specific benefits.” (Board of Regents v. Roth, 408 U.S. 564, 576 (1971); Hoopa
 8
      Valley Tribe v. Christie, 812 F.2d 1097, 1102 (9th Cir. 1987).) A property interest is more than a
 9    unilateral expectation, it is “a legitimate claim of entitlement.” (Board of Regents, 408 U.S. at
10    577.) Entitlements are not created by the constitution, but are defined by independent sources
11    such as state law, statutes, ordinances, regulations or express and implied contracts. (Id.; Lucero
12    v. Hart, 915 F.2d 1367, 1370 (9th Cir. 1990).) If a right has not vested, it is not a property

13    interest protected by the due process or takings clause. (Peterson, 899 F.2d at 807.)

14          In this case, Plaintiffs do not have a constitutionally protected property interest in services
      they have yet to provide (i.e., future reimbursements). (Id.) Additionally, Plaintiffs have no
15
      protected interest in a particular rate of reimbursement. (See Sierra Med. Servs. All. v. Kent, 883
16
      F.3d 1216, 1226 (9th Cir. 2018) [ambulance companies voluntarily provided services and
17
      therefore have no constitutionally protected interest in any particular reimbursement rate].) Here,
18
      the only possible interest Plaintiffs might have are claims for recovery of the reasonable value of
19
      their rendered services. (See In re De Laurentis Entm’t Grp. Inc., 963 F.2d 1269, 1272 (9th Cir.
20    1992) [California law provides a right of action for recovery for services rendered under quantum
21    meruit]; see also Bell v. Blue Cross of California, 131 Cal.App.4th 211, 216-217 (2005)
22    [emergency room physicians who did not participate in health care service plan had standing to
23    bring state court action against plan, under common law quantum meruit, for plan’s

24    reimbursements that were allegedly below value of providers’ service].) In other words, the

25    reasonable value of the services Plaintiffs rendered is not a constitutionally protected interest, but
      the right to seek recovery of same under California law may be. (See Lujan v. G & G Fire
26
      Sprinklers, Inc., 532 U.S. 189, 196 (2001).)
27

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 1                 2. Plaintiffs Cannot Allege that the Act’s Reimbursement Procedures Violate Due
                      Process
 2
              Due process is a flexible concept and its procedural requirements vary depending upon the
 3
      particular deprivation. (Orloff v. Cleland, 708 F.2d 372, 378 (9th Cir. 1983).) “The very nature
 4
      of due process negates any concept of inflexible procedures universally applicable to every
 5    imaginable situation. ‘“[D]ue process,” unlike some legal rules, is not a technical conception
 6    with a fixed content unrelated to time, place and circumstances.’” (Lujan, 532 U.S. 189, 196-197,
 7    [quoting Cafeteria & Restaurant Workers v. McElroy, 367 U.S. 886, 895 (1961).) “[D]ue process
 8    does not guarantee any particular form of state procedure.” (Lyeth v. Chrysler Corp., 929 F.2d

 9    891, 895 (2d Cir. 1991).) Rather, “a state may choose the remedy best adapted, in the legislative

10    judgment, to protect the interests concerned provided its choice is not unreasonable or arbitrary,
      and the procedure it adopts satisfies the constitutional requirements of reasonable notice and
11
      opportunity to be heard.” (Hardware Dealers’ Mut. Fire Ins. Co. of Wis. v. Glidden Co., 284
12
      U.S. 151, 158 (1931).)
13
              In Lujan, the state of California withheld funds from a public works subcontractor and
14
      imposed penalties after receiving notice that the subcontractor had violated provisions of the state
15
      Labor Code. In deciding the subcontractor’s due process challenge to the Labor Code, the
16    Supreme Court characterized the subcontractor’s interest as merely a contractual interest, a
17    “deprivation of payment that it contends it is owed under a contract” that could be adequately
18    protected through a breach of contract suit. (Lujan, 532 U.S. at 196.) The Court found:
19
               [subcontractor] has not been denied any present entitlement. [Subcontractor] has
20             been deprived of payment that it contends it is owed under a contract, based on the
               State’s determination that [subcontractor] failed to comply with the contract’s
21             terms. [Subcontractor] has only a claim that it did comply with those terms and
               therefore that it is entitled to be paid in full. Though we assume for purposes of
22             decision here that [subcontractor] has a property interest in its claim for payment .
               . . it is an interest . . . that can be fully protected by an ordinary breach-of-contract
23
               suit.
24    (Id.) The Court held, “[b]ecause we believe that California law affords [subcontractor] sufficient
25    opportunity to pursue that claim in state court, we conclude that the California statutory scheme
26    does not deprive [subcontractor] of its claim for payment without due process of law. (Id. at

27    195.)

28
                                                          16
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 1          Similarly, in this case, because the Act affords Plaintiffs the right to pursue their claims for
 2    the reasonable value of their services in state court – after exhausting the Act’s dispute resolution

 3    procedure – the Act provides due process. Although Plaintiffs allege that the Act’s dispute

 4    resolution procedure “is too expensive and time-consuming” (Am. Comp. at ¶ 23), the maximum
      IDRP fee is only $207.50 ($415 split equally between the provider and the plan). Significantly, to
 5
      make the process more economical both in terms of money and time, the Act permits up to 50
 6
      similar claims to be bundled into a single IDRP. Also, because the IDRP is a “paper review,”
 7
      providers do not have to travel or take time off to appear in person at a hearing. And finally,
 8
      although no IDRPs have been completed as of yet (only two have been initiating as of the time of
 9
      this motion), the entire dispute resolution process under the Act, from initiation of a plan’s
10    internal process to the rendering of an IDRP decision, should take no more than four months. 12
11    (See Exh. 2, p. 11.)
12          The Act’s dispute resolution procedure, while perhaps “something of a hardship” in some
13    cases, cannot be said to deprive Plaintiffs of their claim for the reasonable value of the services

14    they rendered. (See Lujan, 532 U.S. at 197 [due process does not require convenience]; see also

15    Lyeth v. Chrysler Corp., 929 F.2d at 896 [state’s statutory scheme requiring parties to complete
      arbitration before bringing suit in court found constitutional]; Peick v. Pension Ben. Guar. Corp.
16
      724 F.2d 1247, 1277 (7th Cir. 1983).) Accordingly, Plaintiffs’ Due Process claim should be
17
      dismissed with prejudice.
18
            B.    The Act Does Not Violate the Takings Clause of the U.S. Constitution
19
            In Williamson County Regional Planning Comm’n v. Hamilton Bank, 473 U.S. 172 (1985),
20
      the Supreme Court identified two hurdles in the way of a taking claim brought in federal court
21    against states and their political subdivisions. First, Williamson County affirmed the principle
22    that “a claim that the application of government regulations effects a taking of a property interest
23    is not ripe until the government entity charged with implementing the regulations has reached a
24    final decision regarding the application of the regulations to the property at issue.” (Id. at 186.)

25    The second, and independent, hurdle established by Williamson County requires plaintiffs to

26          12
               The fact that no IDRPs have been completed as of yet illustrates a significant
27    problem with this action: “[c]laims of facial invalidity often rest on speculation. As a
      consequence, they raise the risk of premature interpretation of statutes on the basis of
28    factually barebones records.” (Washington State Grange, 552 U.S. at 449.)
                                                       17
                                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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 1    “seek compensation through the procedures the State has provided for doing so” before turning to
 2    the federal courts. (Id. 473 U.S. at 194-195.)

 3          Because DMHC has not made any final decisions with respect to provider claims for

 4    increased reimbursement rates; because Plaintiffs have not utilized the Act’s procedures for
      resolving reimbursement rate disputes; and because Plaintiffs have not been deprived of their
 5
      claims for increased reimbursement, their Takings claim should be dismissed.
 6
            1.    The Takings Claim is Not Ripe Because DMHC Has Not Made a Final Decision
 7
            Given the interest at issue in this case – the right to bring a claim for reasonable
 8
      reimbursement – it is questionable whether DMHC can ever make a “final decision” as
 9    contemplated by Williamson County, since the Act expressly permits providers to bring suit in
10    state court for reasonable reimbursement. (§ 1371.30(d).) But even if DMHC’s adoption of an
11    IDRP decision could be construed as a “final decision,” there is no allegation in the amended
12    complaint that DMHC has adopted any IDRP decision. Indeed, there are no allegations that
13    Plaintiffs have even engaged in IDRP. Because Plaintiffs have not overcome the first hurdle of

14    Williamson County, their Takings claim should be dismissed.

15                2. The Takings Claim Must Fail Because Plaintiffs Did Not Utilize the Procedures
                     for Resolving Reimbursement Disputes Under the Act
16
            The second hurdle established by Williamson County requires Plaintiffs to avail themselves
17
      of the Act’s IDRP before turning to federal court. (See Id., at 194-195.) Here, Plaintiffs have not
18
      alleged that they have utilized the dispute resolution procedures established under the Act. If
19
      Plaintiffs were to seek administrative relief under these procedures, mutually acceptable solutions
20
      might well be reached with regard to individual cases, thereby obviating any need to address any
21
      constitutional questions. “The potential for such administrative solutions confirms the conclusion
22
      that the taking issue . . . simply is not ripe for judicial resolution.” (Williamson County, 473 U.S.
23
      at 187 [citation omitted].) Because Plaintiffs have not overcome the second hurdle of Williamson
24
      County, their Takings claim should be dismissed.
25
                  3. There is No Taking Because Plaintiffs Have the Right to Pursue Reimbursement
26                   Claims in State Court
27          In addition to Williamson County’s requirement that Plaintiffs exhaust their remedies under

28    the Act, Plaintiffs must also demonstrate that they are foreclosed from bringing their claims for
                                                       18
                                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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 1    increased reimbursement in state court. If a state’s courts offer an adequate procedure for seeking
 2    just compensation, the state has not declined to pay for the taking unless the plaintiff has pursued

 3    that remedy and has been denied relief. (Jama Constr. v. City of Los Angeles, 938 F.2d 1045,

 4    1047-1048 (9th Cir. 1991).) Accordingly, until state court procedures have been pursued, federal
      courts lack subject matter jurisdiction over taking claims. (Id. at 1048; Southern Pacific Transp.
 5
      Co. v. City of Los Angeles, 922 F.2d 498, 502 (9th Cir. 1990).)
 6
            As explained above, California law provides a plaintiff with a right to bring a claim in state
 7
      court for the reasonable value of services rendered – quantum meruit. (See In re De Laurentiis
 8
      Entm’t Grp. Inc., 963 F.2d at 1272; Bell, 131 Cal.App.4th at 216-217.) Because the State has
 9
      never taken that right from Plaintiffs, there has been no taking. Accordingly, Plaintiffs’ Takings
10    claim should be dismissed.
11
            C.    Plaintiffs are Barred from Bringing a Cause of Action Under the
12                Supremacy Clause of the U.S. Constitution
            Finally, Plaintiffs assert a cause of action for violation of the Supremacy Clause of the U.S.
13
      Constitution, claiming that the Act prohibits out-of-network providers from collecting for their
14
      services rendered to Medicare beneficiaries, in violation of the Supremacy Clause of the U.S.
15
      Constitution. This claim should be rejected for two reasons.
16
            First, the Act is not, and has never been, applied to Medicare plans. (See also Exhibit 1, p.
17
      2.) So Plaintiffs’ allegation that the Act precludes recovery for services rendered to Medicare
18
      beneficiaries is inaccurate.
19
            Second, even if the allegations were true, the Supremacy Clause claim should be rejected,
20
      because “the Supremacy Clause is not the source of any federal rights, and certainly does not
21
      create a cause of action.” (Sierra Med. Servs. All. v. Kent, supra, 883 F.3d at 1223 [quoting
22
      Armstrong v. Exceptional Child Ctr., Inc., 135 S. Ct. 1378, 1383 (2015)].) Because Plaintiffs do
23
      not have a private right of action with respect to their Supremacy Clause claim, the claim should
24
      be dismissed with prejudice.
25
      ///
26
      ///
27
      ///
28
                                                       19
                                             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                                         MOTION TO DISMISS (2:16-cv-02441 MCE-EFB)
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 1                                           CONCLUSION
 2          Based on the forgoing, Defendant’s motion to dismiss should be granted, without leave to

 3    amend.

 4
      Dated: June 21, 2018                               Respectfully Submitted,
 5
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 8

 9
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                                                       MOTION TO DISMISS (2:16-cv-02441 MCE-EFB)
